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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :    CRIMINAL NO. 21-CR-738 (BAH)
                                                   :
                       v.                          :    VIOLATIONS:
                                                   :    18 U.S.C. § 111(a)(1)
 MICHAEL OLIVERAS,                                 :    (Assaulting, Resisting, or Impeding
                                                   :    Certain Officers)
                            Defendant.             :    18 U.S.C. § 1752(a)(1)
                                                   :    (Entering and Remaining in a Restricted
                                                   :    Building or Grounds)
                                                   :    18 U.S.C. § 1752(a)(2)
                                                   :    (Disorderly and Disruptive Conduct in a
                                                   :    Restricted Building or Grounds)
                                                   :    40 U.S.C. § 5104(e)(2)(D)
                                                   :    (Disorderly Conduct in
                                                   :    a Capitol Building)
                                                   :    40 U.S.C. § 5104(e)(2)(G)
                                                   :    (Parading, Demonstrating, or Picketing in
                                                   :    a Capitol Building)

                            SUPERSEDING I N F O R M A T I O N

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, MICHAEL OLIVERAS,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and

employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), and any person assisting such an officer and employee,

while such person was engaged in and on account of the performance of official duties.

       (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
       States Code, Section 111(a)(1))

                                          COUNT TWO

       On or about January 6, 2021, in the District of Columbia, MICHAEL OLIVERAS, did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
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and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, MICHAEL OLIVERAS, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was temporarily

visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of

Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, MICHAEL OLIVERAS,

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.


       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))


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                                       COUNT FIVE

       On or about January 6, 2021, in the District of Columbia, MICHAEL OLIVERAS,

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))



                                           Respectfully submitted,

                                           Matthew M. Graves
                                           United States Attorney
                                           D.C. Bar No. 481052

                                           By: /s/ Ashley Akers
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